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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF OKLAHOMA

  MARILYN ANN PHILLIPS,                                  )
                                                         )
          Plaintiff,                                     )
                                                         )
  vs.                                                    )      Case No. 17-CV-547-JED-JFJ
                                                         )
  FARMERS INSURANCE COMPANY, INC.                        )
                                                         )
          Defendant.                                     )

                         DEFENDANT’S MOTION FOR STIPULATION

          COMES NOW the Defendant, Farmers Insurance Company Inc., and in support of its Motion

  for a Stipulation, states as follows:

          1.      On May 8, 2019 the Plaintiff, Marilyn Ann Phillips, appeared for a deposition limited

  in scope to her gardening activities and photographs of garden at her home. During the deposition,

  the Plaintiff was wearing splints on both hands. She testified that gardening causes pain in her

  thumbs and wrists.

          2.      The Defendant anticipates that the Plaintiff will wear her splints at trial. There may

  be testimony from the Plaintiff or her retained expert, Richard Hastings, D.O, that gardening or other

  activities causes pain or symptoms in her hands.

          3.      The Defendant requests that the following stipulation be read to the jury during the

  presentation of evidence to avoid confusion and misleading of the jury:

          “The Parties agree and stipulate that the Plaintiff’s symptoms of pain and decreased
          strength and motion of her thumbs are the result of aging. This is a degenerative
          process, and is not related to the motor vehicle accident on August 27, 2012. Further,
          the parties agree and stipulate that the treatment Ms. Phillips received in 2018 and
          2019 from David Mokhtee, M.D. and Tulsa Bone and Joint, including the use of the
          splints, is not related to the accident of August 27, 2012.”

          4.      As background and support for the Motion, the Defendant shows the Court that the
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  Plaintiff claims that she suffered carpal tunnel syndrome of both wrists as a result of the automobile

  accident on August 27, 2012. The claim is contested. The Plaintiff had surgery by Dr. Mokhtee for

  a right carpal tunnel release on September 19, 2016. She had surgery by Dr. Mokhtee for a left

  carpal tunnel release on November 28, 2016. On December 8, 2016 the Plaintiff had her final post

  surgical visit with Dr. Mokhtee. On that date the plan was to followup as needed.

             5.     On March 7, 2018 the Plaintiff returned to Dr. Mokhtee at Tulsa Bone and Joint with

  pain associated with a new problem diagnosed as trigger thumb or thumb arthritis. Dr. Mokhtee

  treated this new problem with injections. The Plaintiff received physical therapy and was fitted with

  splints.

             6.     Dr. Mokhtee has testified that the Plaintiff’s trigger thumb or thumb arthritis and

  resulting symptoms are the result of aging. The condition is degenerative and is not related to the

  automobile accident on August 27, 2012.

             7.     Accordingly, the parties filed Amended Joint Stipulations (Doc. 54) which included

  the following in paragraph F:

             “The parties stipulate that the treatment Ms. Phillips received in 2018 from Tulsa
             Bone and Joint/David Mokhtee, M.D. was not related to the motor vehicle accident
             on August 27, 2012.”

             WHEREFORE, the Defendant moves that the Court read the stipulation proposed in

  paragraph 3 above to the jury during the presentation of evidence at the trial of this matter.




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                                                Respectfully submitted,

                                                STEIDLEY & NEAL, P.L.L.C.


                                        By:     s/ Robert H. Taylor
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                                   CERTIFICATE OF SERVICE

         I, hereby certify that on the 9th day of May, 2019, I electronically transmitted the foregoing
  document to the Clerk of the Court using the ECF System for filing and transmittal of a Notice of
  Electronic Filing to the following ECF registrants:

  Anthony M. Laizure


                                                s/ Robert H. Taylor




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